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8    Attorneys for Plaintiff
9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11

12   MARK SELIGER, an individual,             Case No.:
13
     Plaintiff,                                  COMPLAINT FOR:
14
                                                  1. COPYRIGHT INFRINGEMENT
15   v.
                                                  2. VICARIOUS AND/OR
16                                                   CONTRIBUTORY COPYRIGHT
     BUZZFEED, INC., a Delaware                      INFRINGEMENT
17   Corporation, d/b/a “BuzzFeedNews.com”;
     and DOES 1-10, inclusive,                    3. VIOLATIONS OF THE
18                                                   DIGITAL MILLENNIUM
                                                     COPYRIGHT ACT
19                                                   (17 U.S.C. §1202)
     Defendants.
20                                                   JURY TRIAL DEMANDED

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28                                       COMPLAINT
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1           MARK SELIGER, by and through his undersigned attorneys, hereby prays to
2    this honorable Court for relief based on the following:
3                               JURISDICTION AND VENUE
4           1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101 et
5    seq.
6           2. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and 1338
7    (a) and (b).
8           3. Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and 1400(a)
9    in that this is the judicial district in which a substantial part of the acts and omissions
10   giving rise to the claims occurred.
11                                          PARTIES
12          4. Plaintiff MARK SELIGER (“SELIGER”) is an individual residing in the
13   New York, New York.
14          5. Plaintiff is informed and believes and thereon alleges that Defendant
15   BUZZFEED, Inc. (“BUZZFEED”) is a Delaware Corporation with a principal office
16   at 608 Main St., Venice, California, 90291, does business in and with the state
17   of California and this District, and is the owner of the website at
18   www.buzzfeed.com.
19          6. Plaintiff is informed and believes and thereon alleges that Defendants
20   DOES 1 through 10, inclusive, are other parties not yet identified who have infringed
21   Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s copyrights,
22   or have engaged in one or more of the wrongful practices alleged herein. The true
23   names, whether corporate, individual or otherwise, of Defendants 1 through 10,
24   inclusive, are presently unknown to Plaintiff, which therefore sues said Defendants
25   by such fictitious names, and will seek leave to amend this Complaint to show their
26   true names and capacities when same have been ascertained.
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28                                           COMPLAINT
     Case 2:22-cv-01184 Document 1 Filed 02/22/22 Page 3 of 42 Page ID #:3




1          7. Plaintiff is informed and believes and thereon alleges that at all times
2    relevant hereto each of the Defendants was the agent, affiliate, officer, director,
3    manager, principal, alter-ego, and/or employee of the remaining Defendants and was
4    at all times acting within the scope of such agency, affiliation, alter-ego relationship
5    and/or employment; and actively participated in or subsequently ratified and/or
6    adopted each of the acts or conduct alleged, with full knowledge of all the facts and
7    circumstances, including, but not limited to, full knowledge of each violation of
8    Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
9                 CLAIMS RELATED TO SUBJECT PHOTOGRAPHY
10         1. SELIGER is an accomplished and critically acclaimed photographer. His
11   works have appeared in Rolling Stone, GQ, Vogue, and Vanity Fair and he has
12   authored numerous albums covers, books, and short films. He has also created
13   photography in collaboration with global brands like Netflix, Levi’s, and Ralph
14   Lauren. He has won numerous awards, including the Clio Grand Prix and the Cannes
15   Lions Grand Prix, and his works are part of the permanent collection of the National
16   Portrait Gallery at the Smithsonian Institution in Washington, D.C., the Museum of
17   Fine Arts in Houston, and the National Portrait Gallery in London.
18         2. SELIGER owns and created original photography (the “Subject
19   Photography”) that was registered with the United States Copyright Office. Plaintiff
20   is the sole owner of the exclusive rights in the Subject Photography, which is
21   depicted in Exhibit A.
22         3. Plaintiff is informed and believes and thereon alleges that following his
23   publication and display of the Subject Photography, BUZZFEED INC, DOE
24   Defendants, and each of them used the Subject Photography without Plaintiff’s
25   authorization for commercial purposes in various ways, including, but not limited to,
26   the use on websites such as https://www.buzzfeed.com.
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28                                          COMPLAINT
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1          4. Images of the Subject Photography and screen captures of Defendant’s
2    website with the Subject Photography embedded are set forth in Exhibit B
3    (“Infringing Content”).
4          5. Defendants, and each of them, have willfully copied, reproduced, displayed,
5    and distributed the Infringing Content for financial benefit and without Plaintiff’s
6    consent, as seen in the screen captures and/or URLs depicted in Exhibit B hereto.
7                               FIRST CLAIM FOR RELIEF
8             (For Copyright Infringement - Against All Defendants, and Each)
9          6. Plaintiff repeats, re-alleges, and incorporates herein by reference as though
10   fully set forth, the allegations contained in the preceding paragraphs.
11         7. Plaintiff alleges on information and belief that Defendants, and each of
12   them, accessed the Subject Photography by without limitation, viewing the Subject
13   Photography on Plaintiff's website or social media profiles, on other sites online, or
14   in physical publications. The identicality of the copying also show access.
15         8. Plaintiff alleges on information and belief that Defendants, and each of
16   them, copied, reproduced, displayed, and distributed the Subject Photography online
17   at and on websites bearing the URL(s) depicted in Exhibit B hereto.
18         9. Plaintiff alleges on information and belief that Defendants, and each of
19   them, infringed Plaintiff's copyrights by creating infringing derivative works from
20   the Subject Photography and publishing same to the public.
21         10. Due to Defendants', and each of their, acts of infringement, Plaintiff has
22   suffered general and special damages in an amount to be established at trial.
23         11. Due to Defendants' acts of copyright infringement as alleged herein,
24   Defendants, and each of them, have obtained direct and indirect profits they would
25   not otherwise have realized but for their infringement of Plaintiff's rights in the
26   Subject Photography. As such, Plaintiff is entitled to disgorgement of Defendants'
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28                                          COMPLAINT
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1    profits directly and indirectly attributable to Defendants' infringement of Plaintiff's
2    rights in the Subject Photography in an amount to be established at trial.
3          12. Plaintiff alleges on information and belief that Defendants, and each of
4    them, have committed acts of copyright infringement, as alleged above, which were
5    willful, intentional and malicious, which further subjects Defendants, and each of
6    them, to liability for statutory damages under Section 504(c)(2) of the Copyright Act
7    in the sum of up to $150,000.00 per infringement and/or a preclusion from asserting
8    certain equitable and other defenses.
9                               SECOND CLAIM FOR RELIEF
10   (For Vicarious and/or Contributory Copyright Infringement – Against all Defendants,
11                                           and Each)
12         13. Plaintiff repeats, re-alleges, and incorporates herein by reference as though
13   fully set forth, the allegations contained in the preceding paragraphs.
14         14. Plaintiff alleges on information and belief that Defendants knowingly
15   induced, participated in, aided and abetted in and profited from the illegal
16   reproduction and distribution of the Subject Photography as alleged hereinabove.
17   Such conduct included, without limitation, publishing photographs obtained from
18   third parties that Defendant(s) knew, or should have known, were not authorized to
19   be published by Defendant(s); publishing the Infringing Content on affiliate, third-
20   party, and social media sites; and distributing the Infringing Content to third-parties
21   for further publication.
22         15. Plaintiff alleges on information and belief that Defendants, and each of
23   them, are vicariously liable for the infringement alleged herein because they had the
24   right and ability to supervise the infringing conduct and because they had a direct
25   financial interest in the infringing conduct. Specifically, Defendants, and each of
26   them, received revenue in connection with the Infringing Content, and were able to
27   supervise the distribution, broadcast, and publication of said content.
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28                                           COMPLAINT
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1          16. By reason of the Defendants', and each of their, acts of contributory and
2    vicarious infringement as alleged above, Plaintiff has suffered general and special
3    damages in an amount to be established at trial.
4          17. Due to Defendants' acts of copyright infringement as alleged herein,
5    Defendants, and each of them, have obtained direct and indirect profits they would
6    not otherwise have realized but for their infringement of Plaintiff's rights in the
7    Subject Photography. As such, Plaintiff is entitled to disgorgement of Defendants'
8    profits directly and indirectly attributable to Defendants' infringement of their rights
9    in the Subject Photography, in an amount to be established at trial.
10         18. Plaintiff alleges on information and belief that Defendants, and each of
11   them, have committed acts of copyright infringement, as alleged above, which were
12   willful, intentional and malicious, which further subjects Defendants, and each of
13   them, to liability for statutory damages under Section 504(c)(2) of the Copyright Act
14   in the sum of up to $150,000.00 per infringement and/or a preclusion from asserting
15   certain equitable and other defenses.
16                              THIRD CLAIM FOR RELIEF
17       (For Violations of the 17 U.S.C. §1202 – Against all Defendants, and Each)
18         19. Plaintiff repeats, re-alleges, and incorporates herein by reference as though
19   fully set forth, the allegations contained in the preceding paragraphs.
20         20. The Subject Photography was routinely published with attribution, credit,
21   and other copyright management information identifying Plaintiff as the author,
22         21. Plaintiff alleges on information and belief that Defendants, and each of
23   them, removed Plaintiff's copyright management information, as described above,
24   from the Subject Photography, and/or added false copyright management
25   information to the Subject Photography, before distributing and publishing same.
26         22. Plaintiff alleges on information and belief that Defendants, and each of
27   them, distributed and published the Subject Photography via websites bearing the
                                                 6
28                                           COMPLAINT
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1    URL(s) depicted in Exhibit B hereto, under its own name, and removing Plaintiff's
2    attribution information, including without limitation his name and/or metadata.
3         23. The aforementioned facts constitute "copyright management information"
4    as that phrase is defined in 17 U.S.C. § 1202(c) and is false.
5         24. When Defendants distributed and published the Subject Photography, they
6    knowingly provided and/or distributed false copyright management information in
7    violation of 17 U.S.C. § 1202(a). As a result of the foregoing, Plaintiff has been
8    damaged and may recover those damages as well as Defendants' profits, and/or
9    statutory damages, and attorneys' fees under 17 U.S.C. § 1203.
10                                 PRAYER FOR RELIEF
11        Wherefore, Plaintiff prays for judgment as follows:
12        Against all Defendants, and Each, with Respect to Each Claim for Relief:
13            That Defendants, and each of them, as well as their employees, agents, or
14               anyone acting in concert with them, be enjoined from infringing
15               Plaintiff’s copyrights in the Subject Photography, including without
16               limitation an order requiring Defendants, and each of them, to remove
17               any content incorporating, in whole or in part, the Subject Photography
18               from any print, web, or other publication owned, operated, or controlled
19               by any Defendant.
20            b. That Plaintiff be awarded all profits of Defendants, and each of them,
21               plus all losses of Plaintiff, plus any other monetary advantage gained by
22               the Defendants, and each of them, through their infringement, the exact
23               sum to be proven at the time of trial, and, to the extent available,
24               statutory damages as available under the 17 U.S.C. § 504 and other
25               applicable law.
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28                                          COMPLAINT
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1             c. That a constructive trust be entered over any revenues or other proceeds
2                realized by Defendants, and each of them, through their infringement of
3                Plaintiff’s intellectual property rights;
4             d. That Plaintiff be awarded his attorneys’ fees as available under the
5                Copyright Act U.S.C. § 505 and/or §1203;
6             d. That Plaintiff be awarded his costs and fees;
7             e. That Plaintiff be awarded statutory and enhanced damages;
8             f. That Plaintiff be awarded pre-judgment interest as allowed by law; and
9             h. That Plaintiff be awarded further legal and equitable relief as deemed
10               proper.
11     Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ.
12   P. 38 and the 7th Amendment to the United States Constitution.
13

14

15   Dated: February 22, 2022        By:    ______________________
16
                                            Scott Alan Burroughs, Esq.
                                            Trevor W. Barrett, Esq.
17                                          Frank R. Trechsel, Esq.
18
                                            DONIGER/BURROUGHS
                                            Attorneys for Plaintiff
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28                                          COMPLAINT
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          EXHIBIT A                                 EXHIBIT B

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28                                      COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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28                                       COMPLAINT
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